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NURAH RAHMAN, CASE NO. l:O7cv3166
Plaintif`f`, JUDGE DONALD C. NUGENT

v.
JUDGMENT ENTRY

DENNIS M. PlLAWA,

VVVV\/VV`./`-/

Defendant.

This court having contemporaneously filed its Memorandum of Opinion in this

case, it is therefore ORDERED that this action is dismissed pursuant to 28 U.S.C. § 1915(e).

Further, the court CERTIFIES pursuant to 28 U.S.C. §1915(3)(3) that an appeal from this

lME.Wz

DONALD C. NUGENT
UNITED STATES DlSTRlCT JUDGE

decision could not be taken in good faith

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